      CASE 0:19-cr-00128-JRT-TNL Document 49 Filed 12/02/19 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                         Criminal No. 19-128 (JRT/TNL)

 UNITED STATES OF AMERICA,                 )
                                           )
                     Plaintiff,            )
                                           )    GOVERNMENT’S RESPONSE TO
       v.                                  )    DEFENDANT’S OBJECTIONS TO
                                           )    THE REPORT AND
 PERCY STROTHER Jr.,                       )    RECOMMENDATION
                                           )
                     Defendant.            )


      The United States of America, by and through its attorneys, Erica H. MacDonald,

United States Attorney for the District of Minnesota, and Assistant United States Attorney

Bradley M. Endicott hereby submits its response in opposition to the defendant’s

Objections to the Report and Recommendation (R&R) (Doc. No. 48) issued by the

Honorable Tony N. Leung (Doc. No. 46).

      The defendant’s Objection to the R&R essentially restates his previous arguments

that the Magistrate Judge rejected. Therefore, the government respectfully asks the Court

to overrule the defendant’s objections and to adopt the Magistrate Judge’s R&R.


Dated: December 2, 2019                                Respectfully Submitted,

                                                       ERICA H. MacDONALD
                                                       United States Attorney

                                                       s/ Bradley M. Endicott

                                                       BY: BRADLEY M. ENDICOTT
                                                       Assistant U.S. Attorney
                                                       Attorney ID No. 0349872
